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                                                   Note Changes Made by the Court
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     8                       UNITED STATES DISTRICT COURT
     9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    10
    11 IRONHAWK TECHNOLOGIES, INC.,               Case No. 2:18-cv-01481-DDP-JEM
       a Delaware Corporation,
    12
                                                  Assigned to: Hon. Dean D. Pregerson
    13              Plaintiff and
                    Counterdefendant,             ORDER GRANTING JOINT
    14                                            STIPULATION TO SET PENDING
             vs.                                  MOTIONS FOR HEARING
    15
       DROPBOX, INC., a Delaware
    16 corporation,                               Trial Date: October 26, 2021
                                                  Final Pre-Trial Conf.: October 18, 2021
    17
                    Defendant and
    18              Counterclaimant.
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          [PROPOSED] ORDER GRANTING JOINT STIPULATION TO SET PENDING MOTIONS FOR HEARING
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     1               Pursuant to the stipulation submitted by the parties, good cause appearing, IT
     2 IS SO ORDERED that hearings are hereby set on Dropbox, Inc.’s Daubert Motions
     3 (Dkt. Nos. 84, 85), Ironhawk Technologies, Inc.’s Motion for Summary Judgment
     4 (Dkt. No. 89), the disgorgement and willfulness arguments in Dropbox’s original
     5 Motion for Summary Judgment (Dkt. No. 91), or, alternatively, the proposed
     6 Dropbox Partial Motion for Summary Judgment, and the Motions in Limine (Dkt.
     7 Nos. 179-2, 179-4, 181–83, 189-1, 189-5, 189-7, 189-9, 190, 200, 201), for October
     8 25, 2021, at 10:00 a.m.
     9
               8-20-21
    10 Dated: _______________
                                                  Hon. Dean D. Pregerson
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                                                  Judge of the United States District Court
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                      ORDER GRANTING JOINT STIPULATION TO SET PENDING MOTIONS FOR HEARING
